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                                     UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                             SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                       )   Case No. CR-15-00226-BLF
                                                     )
15           Plaintiff,                              )   UNITED STATES’ OPPOSITIONS TO DEFENSE
                                                     )   MOTIONS IN LIMINE
16      v.                                           )
                                                     )
17   DOUGLAS YORK,                                   )   Trial Date:   July 20, 2015
                                                     )   Time:         9:00 a.m.
18           Defendant.                              )   Courtroom:    Hon. Beth Labson Freeman
                                                     )
19

20
         The United States hereby respectfully submits the following oppositions to Defense Motions in
21
     Limine.
22
       I.    OPPOSITIONS TO DEFENDANT’S MOTIONS IN LIMINE
23
                 A. Designating All Government Witnesses as Under Defense Subpoena.
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             The government opposes designating all released government witnesses to be considered under
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     defense subpoena. A blanket subpoena of the government’s witnesses should not be issued and does not
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     conform with Federal Rule of Criminal Procedure 17(b). The plain language of the rule provides that
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     the court must issue a subpoena for an indigent defendant when the witness is named and there is a
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 1 showing of the necessity for the “witness’s presence for an adequate defense.” Fed. R. Crim. P. 17(b).

 2 The defendant does not have the right to subpoena any witness he wants, but must show whether the

 3 witness would be relevant and helpful. United States v. Torres Lopez, 851 F.2d 520, 527 (1st Cir. 1988).

 4 The witness must be named or otherwise identified and the defendant has the burden to show the witness

 5 will be “relevant, material, and useful to an adequate defense.” United States v. Barker, 552 F.2d 1013,

 6 1020 (6th Cir. 1977). A blanket subpoena of all government witnesses provides neither identification,

 7 nor a sufficient showing of necessity for the witnesses. Placing government witnesses under defense

 8 subpoena without any justifiable reason cannot be supported by the rules or the adversarial nature of the

 9 system. The government will alleviate any concerns of unavailability by informing the defendant of
10 release of any government witness. The defendant then may subpoena any witness that he believes is

11 pertinent to an adequate defense.

12              B. Requirement for the Case Agent to Testify First.

13          The government opposes the defendant’s request for the government’s case agent to testify first.

14 The order and presentation of the government’s evidence should not be dictated by the defendant. In

15 United States v. Machor the court rejected the defendant’s argument that the case agent should have

16 testified first because there was no good reason and the government wanted to present evidence

17 chronologically. United States v. Machor, 879 F.2d 945, 954 (1st Cir. 1989). The government in this

18 case should be given similar discretion to present its evidence in the order it desires. The court has

19 considerable discretion in controlling the mode and order of interrogating witnesses during trial. Fed. R.

20 Evid. 611(a). The discretion afforded the court is to ascertain the truth and to avoid confusing the jury

21 or trier of fact. However, the “discretion should be used sparingly and good reason should exist before

22 the court intervenes in what is essentially a matter of trial strategy.” Id. Forcing the case agent to testify

23 first would interfere with the government’s ability to define its own trial strategy.

24              C. Precluding the Government from Cross-Examining Defense Witnesses with “Guilt
                   Assuming” Questions and Hypotheticals.
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            In the government’s view, the proper time for defense’s argument is not through a motion in
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     limine. Rather, if an inappropriate hypothetical is asked at trial, defense can object to government
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     questioning at that time.
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 1          In reply, the government opposes the broad scope and indefiniteness of the order sought by the

 2 defendant. The government should not be precluded from asking all defense witness hypothetical

 3 questions. The scope of the order should be narrowed to specify defense character witnesses only.

 4 Additionally, the scope of guilt assuming questions should be cabined to those that “assume the guilt of

 5 the accused in the very case at bar.” United States v. Guzman, 167 F.3d 1350, 1352 (11th Cir. 1999). In

 6 United States v. Russo, the government was permitted to ask a character witness about the current

 7 charges because defense counsel had “opened the door” on direct examination. United States v. Russo,

 8 110 F.3d 948, 953 (2nd Cir. 1997). Since there is not a complete bar to using information about the

 9 current charges on cross examination, the government should not be precluded from questioning defense
10 witnesses with “guilt assuming” hypotheticals. Additionally, the Ninth Circuit has found it permissible

11 to use facts already presented to the jury by the defense in questioning character witnesses about their

12 opinion of the defendant’s acts. United States v. Velasquez, 980 F.2d 1275, 1277 (9th Cir. 1992). In that

13 case the prosecutor’s question regarding whether the character witness agreed that a bank robbery

14 involving a fake hand grenade was a violent act was permissible. Id. The court did not consider the

15 question to be a guilt assuming hypothetical because it “asked the witness how they would interpret the

16 acts.” Id. The prohibition of guilt assuming questions and hypotheticals should be sufficiently narrowed

17 to apply only to defense character witnesses and to questions that presume the defendant’s guilt as noted

18 above.

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20 DATED: July 9, 2015                                           Respectfully submitted,

21                                                               MELINDA HAAG
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23
                                                                        /s/
24                                                               BRIANNA L. PENNA
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